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                            UNITED STATES DISTRICT COURT
                         FOR THE EASTERN DISTRICT OF VIRGINIA
                                   Alexandria Division

MYNOR ABDIEL TUN-COS, et al.                         )
                                                     )
                                                     )
                Plaintiffs,                          )
                                                     )       Case No.: 1:17-cv-00943 (AJT-TCB)
v.                                                   )
                                                     )
B. PERROTTE, et al.                                  )
                                                     )
                Defendants.                          )

                        NOTICE OF WAIVER OF ORAL ARGUMENT

         Pursuant to Local Rule 7(E), Plaintiffs Mynor Abdiel Tun-Cos, José Pajarito Saput, Luis

Velasquez Perdomo, Pedro Velasquez Perdomo, Germán Velasquez Perdomo, Eder Aguilar

Aritas, Eduardo Montano Fernández, Nelson Callejas Peña, and José Cárcamo, through their

undersigned counsel, waive oral argument on their Motion for Leave to File a Notice of

Supplemental Authority, ECF 47.

         Counsel for Defendants has advised that, while Defendants do not agree with the

substance of the Notice of Supplemental Authority, they do not oppose the filing of the Notice.

Counsel for Defendants indicated that they intend to file a response to the Notice.

Dated: March 2, 2018                         Respectfully submitted,

                                             COVINGTON & BURLING LLP
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                                   Counsel for Plaintiffs




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                                 CERTIFICATE OF SERVICE

       I hereby certify that on March 2 2018, I will electronically file the foregoing with the Clerk

of Court using the CM/ECF system, which will then send a notification of such filing (NEF) to the

following:

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